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                         t_..: . . . .' •... ' . ...Fleferences
                                        ~_    ~   ~   .... .• __         • . . . ."Libby
                                                                 . . . .for       •. _   Cohort
                                                                                             ... Deaths Per Source"
                                                                                                 __...      . ..._ .. _._. _ _   ~_~          _



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                 .                       .               .                                                                                .


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            References for Libby Cohort Deaths Per Source                                                                  12/14/08
            Asbestos/Clients/Experts
      Case 01-01139-AMC                 Doc 22766-48       Filed 08/13/09           Page 2 of 5

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        TO:         R ·C. Wlilsh
                        I                 ~ /;,~.~,. DATE         I   . September         17, 19a5
        FROM:      .w. J.·HeCai, /lf~SUBJEeTI.U.~·..cne lu.nc.cancer                                             ,.
                                             .,(.                 .   de,~h S.'l1CJ". '     Lib~y Mirul
                                              7                       employees in 1966. ,," .
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                                                                      Harsteller·                  .

       eCI         J.       W, WOHer                                                '.




     .. As L tTIentioned. durinc our vis·it in Wash.1:nct:on, I..,.... not ·cOIl1f'ort-·
        able wieh subject quot.e .£.rom. ·the crate :response to 'Public
      . ci tJ.z8n. . Ear;!· L.oV.Lc:k. .r.eturned . fl""om his. trip· .and· I had hil1l
      . researi::"h the· stateMent..using. the- I1c0.111· Study cOlllputerized
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        lunc . cancer deaths to: da.te.
     ·r .would like· co' sugcesc that we obtain Dr. MeDonzld '8. concurrence
      to • ·sta·tenlent in' place of· subject quote.. .'1' su~'sest I

             The                of lun's" c·.nce·r prior tQ197a' mons
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             L.~bbyemployees with expoaure"to high treJ1lo1.1te levels
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             ~tld..... · bhiae time   pedod.    In ~ther Hords, the OCCUI""-
             rence .of known casas was              :not
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    'data in both the .HeO! 11 a!'1d th!ll N1..0Sff stiJdies.




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                                     Case 01-01139-AMC                                        Doc 22766-48                Filed 08/13/09                  Page 3 of 5
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                                                                                                       LUNG CANCER DEATHS


                                VR. OF                                                                                N.UH2ER PF .
                                HA TtiR,E ATI<S'                                 '...:.~ HPL QrEE NAME             .YEARS EMPLOYED ' .                    EMPLOYMENT VEMS


                          ff19:;0                                               .' A. ~J ac/:weJ J.                              '1. OS                       19'47-1946
                                                                                                                                                          (·OH1~.      Ja.·nit o'r I
                          u1955                          f                         R. Fiild.                                 2.9fJ                            19~2-19,5:l
                               J9-60                    l'                       ,R'~' £ngh',                              ,14.08                   ' "     ' J,946,-1960
                     196J
                      f                                 2                         O. tint                              . '" 9.83                              1947-19~b
                  fH.                                                          ' 'R. Orsborn                                     2. (10                       1945;'H~0 .
                    H'/d                             1                            J " Lud'wig                                9.16                             H57-1 U'6 .
                           ap                        1                           11. Nl:,CoJ1as                              8.91                          . ,1?~S-H67 .
                           1~6B ..                   1                          Ri '&leich                                  2,9. ~O:                         19~5-H6S'
                      f 1969'
                                                     .,                         W. Shows                                     1 ~,<ja
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                      ••                            •                      ..                                                                               194t-.it49
                                                                                'J.·'Starr'                                  4.0:0                          J 952'; 19~6
                      f.tHO                      J                              N,. SIlit ~   ,,,'5.                      ' 1. 7~ ,                         J~5~1-J 952'
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                     1973'.                      1                              L. V~a nIi or"                                                             ,J~SO-l,973 .                         .



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                                                                                                                                                           '194 5-H,~5'
                                                                                                                                                            19.n-1943
                      .19> 7                    J                           R.' Cohenour                                 ,24 ;'33'                         HH-H74
                      ,1978                     5                          H. bay                                         11. OS''                          l,96~-19'76        ,
~'                                                                         L~Ht11er                                      2e.16                             1'9:413-1976'
                                                                           e;tU t,c'h e1-l                               15.33
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                                                                                                                                                           1U:!:'1.97. e
                f.1                                                       fI.#:oberts                                      4'.00 .                         19,;0":1,974
                 I                                                       ·r. 'Wright                                      ,5.09                            19si-1956
                " i 9i9                      1. "                        V"Olson'                                        13,66                             nH--l,9b2
                 '198')                      2                           C. Pet ers on·                                   6.66                             1946-1953'
                                                                         R. Riyollf                                    ,2J.,crO                           .l946-f97~
                -1981                   . 2·                            ,Mi' A'hren-ki el                                 3'.16                       . 1947~1950
                                                                        R. ~ahl1l .                                      9,.~6                            1957-J972 .
                f1982                       4                       '   ~IBahr'                                          1.~'  1: :~.--        -,         1947 ....1' 4,',· " _.
                                                                   '. J. 'Gsrri Ion                                    .J 5.'2,5                       1950-19;5
                                                                     J," al~l'ev                                   ,23; 75'                            19:;3 -197S" .
                                                                   . V'. prl!!.st "                          .',
                                                                                                                       16.91                           1-9~'1:-197~ .
                19.83                   ·2                              r.. ~Ql!hll!r'                             .    6.91                          .1':;7-.1 964
                                                                    H. '1'fcHd~                                        3:1,33             ,            1943-1975
                1964                    1                           H. Kilble                                           2.83                              i-962-196S
                                                      "

                                                                                                                             /    .
           f      Earl Lovick found thf!5.t'· 'people to .have dl,e'd onl'f:beca!ue ,he was tracinq
                  them for the McGill and NIDSH studies,'      .'
                          . .              ,           .
      ff         These,peop1e'had irsuHtcienttille tc have developed ·the problell as a result
                .0; emp I dYllIent.      I          .



                                 .     .'                                              .
                 These pfOpJedied lIore- Han ten years aHer' leav~ng' employment. Without
                 a study 'such a~ 'the, HcSill/NIOSH Studies, no tie to' employment at Libby
                 wou 1d b II Ilade,
                                             Case 01-01139-AMC                 Doc 22766-48                     Filed 08/13/09                        Page 4 of 5

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---,--'-£ENTER FOli'AsB'EsTos RELATEjj~DisEASE:' LmnV fULMONARYFUNCTION·tltSTfPEtl---
   ),                                 . ' . .COMPARISON WITH INDEPENDENT MEDICALEXAM':PFTs                                                                                      '.              . .
   .                  '                                                        . ' .                                                                                        .               .



                  NU'mber                    Individual                                                                        Average % Differ~nc.e·
                  1                          Burns, Michael .                                                                                      1.45% .
                2                        'Chapman, George                                              ,                                           9.87%
               3                         ' Creighton, Tom-                                                                                       -12.45%
               4.                        Drury, Delano                                                            ..                              -6.15%
                              "

             '5:          ,       ,      Dutton, Russell                                                                                          -3.41%
              6                          Fore,.Bill                            '   ,
                                                                                                                                                 -0.01%
             7,       '       '         FUller,R;obert, .                                                                                        13.51%
           8                            Fuller,Robert 2 '                                                                                        ;.2.09%
          ,9                            Hagen, Clinton                                                                                           -11.20%
                                                                   "
                                                                                                                                    "

          lD                            Hage~ Eloise                                                                                            ..24.69%
                                        Hale, Doug •
                                                               :
          11                                                                                                                                    -16.17%
   ..
          12,                          'Kilgore, LuciIIe                                                                                         '8.71%,         ..

         13,-                          Larson,'Joan                                                        ..
                                                                                                                      "                          4.45%' .
         14                            Mackj Robert                                        ,   ,
                                                                                                                                                -1'1.22%
                                                                       :
         15                            Miller, William                                                                                          -16.27% .
                                                                       .   ,                                      "

         16                            Moeller Billle-'-' -                                                               .......   _-~.   ,"
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        ,'17                                  .    .
                                       'Swennes, Jeff  .   ;                                                                                     7.23%
                                                                                                                                                                                  ,     ,

        ,18 '                          SwenSon, David" "                                                                                   . -14.10%
        19                            Torgison,. Walter'                                                                                        1.01%
        20,                           Widic,FrankliD. '                                                                                         -1.30%
        21'                           Young, Quentin                                                                                            ~4.29%

    2~                                Zak, Helen·                                      ,   .
                                                                                                                                                -4.35%
                                      TOTAL AVERAGE % DIFFERENCE                                                                                -3.68%




                                                                                                                                                                            EXHIBIT
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                                          Case 01-01139-AMC                             Doc 22766-48                   Filed 08/13/09   Page 5 of 5

            Dr. Alan C.Whitehouse - Trial Testimony and Depositions
      ." - " - ' "              "'~"".'   ".- ..   ._- .....    .... - -" ..... - .-.        ... -- -. - --   ,
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           I    )~IAL TESTIMONY
               Schnetter, Daniel v.                               Lincoln County                                  Cause No. CDV-94-                5/1/97 Tr. 130: 22 -
               W.R. Grace                                         District Court, ,19 th                          74                               204:22
                                                                , Judicial Court
                                                                                                                                                         ,   ,




               Skramstad, Lester. v.                             Lincoln County                               Cause No. DV-95- .                5/15/97 Tr. 3:18 -
               W.R.Grace                                         District Court, 19 th                        127                             ',169:2-3
                                                                                                                               .
                                                                .Judicial Court                                            '




            Benefield, Gayla,P.R.                                Lincoln County                               Cause No. DV~96- .                   11/5/98 9b6:4 -
            v. W.R. Grace                                        District Court, 19th                         170                                  984: 17 and 11/6/98
                                                                                                                                   "
                                                                 Judicial Court                                                                    990:21 - 1060:15 ,
           Finstad, Kenneth· R.                                  Lincoln County                         Cause No. DV~98-                         5/7/99 Tr.1155:10 ~
                                                         .'
           v. W;R. Grace                                         District 'Court; 19th              - . 139                                      1277:4
                                                                                                                                              .. 5/10/99 Tr~ 1288:9-
                                                                                                                  ..
                                                               . Judicial Court :
                                                                                                                                                 1397
           FelJenberg Trial                                     WC Court                               . WCC No. 2002-0704                         7/14/03
          Paul'                                                 we Court                                  WCC No. 2003-0926                        6/10/04
         )oubek                                                 WC Court                                  wce No. 2004"0979                    7/14/04
                                                                                        ..
         Mack                                                   WC Court                                  WCe No. 2006-1558                        10/6/06
        Johnson.                                   ..
                                                                WC Court                                ,WCC No. 2004-1092'                   9/15 - 9/17/08 &
                                                                                                                                              9/23/08& 10/15/08
                                                                                                                                              & 12/1/08

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        DEPOS
        -...........
            ..         '"   ~                                                                   ....



       Graham, Carol v.                                         United States' District                  Cause No. CV:'89-                     11/5/90
       W.R. Grace                                              .Court for the District                   163-M-CCL                                                                 ..
                                                                of :Montana - .
                ..                                              Missoula Division
  .Hurlbert, Ervin,                                            Lincoln County                           DV-95-109                            2/12/97
   Kaeding, Donald,                                            DIstrict Court, 19th                     DV-96-71
   Riley, Darlene,                                             Judicial Court                           DV096-111
   Skramstad, Lester                                                                                    DV-95-127
   v. W.R. Grace


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 C:Asbestos\Clients\Whitehouse\Depos and Trial Testimony\joh                                       1                                                         . EXHIBIT

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